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UNITED STATES BANKRUPTCY COURT
MIDDI_.E DISTRICT OF FLORIDA

ORLANDO DIVISION
IN RE:
CARL EDWARD MORELLI
CASE NO. 6:18-bk-02644-KSJ
CHAPTER 7
Debtor(s).

/

AFFIDAVIT OF INDEBTEDNE§

sTATE oF TBQ<Q§
COUNTY oF as

. Bar`kley Sutton _
BEFORE ME, th1s day personally appeared . (Affiant) who under

penalty of perjury, deposes and says:

l. l arn over the age of eighteen and'am authorized to make this affidavit on behalf of
Rushmore Loan Management Services, LLC, servicer of the loan for MTGLQ INVESTORS, LP
(“Secured Creditor and Movant”).

2_ 1 am Assistant Vice President

Management Services, LLC, servicer of the loan for MTGLQ INVESTORS, LP as its Legal Process

. and am presently employed by Rushmore Loan

Specialist. In this position, my responsibilities include ascertaining and verifying amounts due and
payable as to_ delinquent bankruptcy accounts.

3. The facts stated in this affidavit are based upon records maintained in the ordinary
course of Rushmore Loan Management Services, LLC, servicer of the loan for MTGLQ INVESTORS,
LP’s business, as part of regularly conducted business activity, by or from information transmitted by
person(s) with knowledge of the events described therein, at or near the time of the event described.
These records are Rushmore Loan Management Services, LLC, servicer of the loan for MTGLQ
INVESTORS, LP’s own records. Ihave personal knowledge of the procedures by which these records

were prepared and kept.

4. Based upon my examination of the business records described herein, l have determined

that there is now due and owing the following amounts as of May 14, 2018:

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i¥§i`r{¢ipa Balance $323,189.7§5
Interest As of 05/14/2018 $170, 043. 20.
Late Charges $1, 899. 505
ascrow Advance $22 ns 3'i`5
Recoverable Balance $36, 537. 585
Suspense Balance 5 $-1,411.24
Fees $68. 00
Grand Total _____ _' $552, 445 085

 

 

 

 

5. The loan is contractually due for the September l, 2010 payment and all subsequent
payments

6. Based upon my examination of the business records described herein, I have determined
that the sums set forth above remain due under the Note and Mortgage.

7. The Mortgage Note and Mortgage, and Supplemental Riders, Amendments,
Modifications, and Assignments, if any, are attached hereto as Composite Exhibit “A” and are true and
accurate copies of the originals.

8. l declare under penalty of perjury that the foregoing facts are true and correct based on
personal knowledge derived from Movant`s books and business records, as l have detailed heretofore

FURTHER AFFIANT SAYETH NAUGHT

Affiant

Bar'l<|ey Sutton
Print or Type Name

sUBsCRIBED AND swoRN before me this j day of £ u_ja§+ , 2018, by,

Bar`kley Sutton

 

who is personally known to me or has produced

DM'WL, 111 _[MB as identification

 

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